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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :      Criminal No. 1:21-cr-00386-TNM-2
                                              :
PAULINE BAUER                                 :
                                              :
                       Defendant.             :

                   REPLY TO THE RESPONSE - MIL REGARDING
                AUTHENTICATION OF VIDEO AND OTHER EVIDENCE

       The United States of America, by and through the United States Attorney for the District

of Columbia, files this reply to the response to its Motion in Limine concerning the authentication

of video, photographic, and documentary evidence at trial. The government understands and

appreciates that counsel recently entered his appearance in this case on May 20, 2022 and that

there exists a voluminous amount of discovery in this case. The government simply asks for

timely objections to the issues addressed in its motion filed on April 22, 2022 if Ms. Bauer objects

to the authenticity or admissibility of the matters discussed in the government’s motion so that the

matters can be fairly litigated and not cause any undue delay. See United States District Court,

District of Columbia Local Rule LCrR 47(b).

                                         CONCLUSION

       WHEREFORE, the government respectfully requests that this Court grant the motion for

a pre-trial determination that the aforementioned exhibits are authentic under the Federal Rules of

Evidence and admissible at trial.

                                              Respectfully submitted,

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                                              DC BAR NO. 481052
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